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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Case No.

UNITED STATES OF AMERICA,

            Plaintiff,

v.

1.  DIPLOMA, PRINCETON UNIVERSITY, Ph.D. IN MATHEMATICS, ISSUED TO
    ALANUM MATHISON TURING;
2. PHOTOGRAPH OF ALAN TURING IN COAT AND TIE, FACING RIGHT, BY
    ELLIOTT & FRY;
3. PHOTOGRAPH OF ALAN TURING IN COAT AND TIE, FACING LEFT, BY
    ELLIOTT & FRY;
4. ORDER OF THE BRITISH EMPIRE MEDAL, MINIATURE, AND INSTRUCTION
    SHEET CONTAINED IN BOX GILDED WITH O.B.E.;
5. LETTER FROM KING GEORGE VI PRESENTING O.B.E. TO ALAN M. TURING,
    ESQ.;
6. ALAN TURING’S HAZELHURST PREPATORY SCHOOL REPORT, DECEMBER
    1924;
7. ALAN TURING’S SHERBORNE SCHOOL REPORT, FIRST-HALF SUMMER
    TERM 1926;
8. ALAN TURING’S SHERBORNE SCHOOL REPORT, SECOND-HALF SUMMER
    TERM 1926;
9. ALAN TURING’S SHERBORNE SCHOOL REPORT, FIRST-HALF MICHAELMAS
    TERM 1927;
10. ALAN TURING’S SHERBORNE SCHOOL REPORT, LENT TERM 1931;
11. ALAN TURING’S SHERBORNE SCHOOL REPORT, SUMMER TERM 1931;
12. PHOTOSTAT COPY OF PRÉCIS OF THE THEORY OF RELATIVITY BY ALBERT
    EINSTEIN PREPARED BY ALAN TURING FOR HIS MOTHER AT AGE FIFTEEN
    AND A HALF;
13. TAN POSTCARD, WITH CAPTION READING “THE UNIVERSAL ELECTRONIC
    COMPUTER INSTALLED AT MANCHESTER UNIVERSITY BY FERRANTI
    LIMITED, WHO ARE MANUFACTURING UNDER LICENCE FROM THE
    CORPORATION” WITH HANDWRITING “ALAN STANDING”;
14. PHOTOGRAPH OF ALAN TURING, FACING RIGHT, VERSO READS “ALAN M.
    TURING 1936”;
15. PHOTOGRAPH OF ALAN TURING, THREE-QUARTER PORTRAIT IN COAT AND
    TIE, FACING RIGHT;
16. PHOTOGRAPH OF ALAN TURING RUNNING; AND


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17. PHOTOCOPY OF POSTCARD FROM ALAN TURING TO HIS MOTHER WITH
    BLUE INK NOTES,

           Defendants.
______________________________________________________________________

              WARRANT FOR ARREST OF PROPERTY IN REM
______________________________________________________________________

TO: UNITED STATES MARSHALS SERVICE AND/OR ANY OTHER DULY
AUTHORIZED LAW ENFORCEMENT OFFICER:

       PURSUANT to the Order for Warrant for Arrest of Property In Rem issued by this

Court, YOU ARE HEREBY COMMANDED TO ARREST AND SEIZE as soon as

practicable, the following defendant assets described in the Verified Complaint for

Forfeiture In Rem filed herewith, and to use whatever means may be appropriate to

protect and maintain it in your custody until further order of this Court:



   a. Diploma, Princeton University, Ph.D. in Mathematics, Issued to Alanum Mathison
      Turing;
   b. Photograph Of Alan Turing in Coat and Tie, Facing Right, by Elliott & Fry;
   c. Photograph Of Alan Turing in Coat and Tie, Facing Left, by Elliott & Fry;
   d. Order of The British Empire Medal, Miniature, and Instruction Sheet Contained in
      Box Gilded With O.B.E.;
   e. Letter from King George VI Presenting O.B.E. to Alan M. Turing, Esq.;
   f. Alan Turing’s Hazelhurst Prepatory School Report, December 1924;
   g. Alan Turing’s Sherborne School Report, First-Half Summer Term 1926;
   h. Alan Turing’s Sherborne School Report, Second-Half Summer Term 1926;
   i. Alan Turing’s Sherborne School Report, First-Half Michaelmas Term 1927;
   j. Alan Turing’s Sherborne School Report, Lent Term 1931;
   k. Alan Turing’s Sherborne School Report, Summer Term 1931;
   l. Photostat Copy of Précis of The Theory of Relativity by Albert Einstein Prepared
      by Alan Turing for His Mother at Age Fifteen and a Half;
   m. Tan Postcard, With Caption Reading “The Universal Electronic Computer
      Installed at Manchester University by Ferranti Limited, Who are Manufacturing
      Under Licence from the Corporation” With Handwriting “Alan Standing”;
   n. Photograph of Alan Turing, Facing Right, Verso Reads “Alan M. Turing 1936”;
   o. Photograph of Alan Turing, Three-Quarter Portrait in Coat and Tie, Facing Right;

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   p. Photograph of Alan Turing Running; and
   q. Photocopy of Postcard from Alan Turing to His Mother With Blue Ink Notes.



      DATED this      day of January, 2020.

                                              JEFFREY P. COLWELL
                                              Clerk of the U.S. District Court


                                         By: _____________________________
                                             Deputy Clerk




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